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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                           CR 1:15-077

CHARVIS LAWRENCE




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Dwight L. Thomas, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Dwight L. Thomas be granted leave of

absence for the following periods: July 1, 2016 through July 5, 2016; October 13,

2016 through October 14, 2016; October 17, 2016; October 21, 2016; and

October 24, 2016 through October 26,2016.

      This lb*dav oi J/nMo^oie.


                                                   5LEJ. RANDAL HALL
                                         Unitedjftates District Judge
                                              lern District of Georgia
